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                                                                                                                                        UNITED STATES DISTRICT COURT
                                                                                                                                        EASTERN DISTRICT OF MICHIGAN
                                                                                                                                             SOUTHERN DIVISION

                                                                                                                    STATE FARM MUTUAL AUTOMOBILE
                                                                                                                    INSURANCE COMPANY,

                                                                                                                           Plaintiff,
                                                                                                                                                                   Case No. 2:21-cv-11940
                                                                                                                    v.
                                                                                                                                                                   HON. DENISE P. HOOD
                                                                                                                    SAM HAKKI, M.D. A/K/A SAM HACKETTE;
                                                                                                                    STAR PAIN MANAGEMENT & REHAB LLC;
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    NEXTGEN PAIN ASSOCIATES & REHABILITATION LLC;
                                                                                                                    ADVANCED CENTRAL LABORATORY, LLC;
                                                                                                                    MIDWEST MEDICAL LAB LLC;
                                                                                                                    FUTURE DIAGNOSTIC CENTER LLC;
                                                                                                                    NABIL BEYDOUN A/K/A NABIL BAYDOUN A/K/A BILL BAYDOUN;
AT LAW GROUP, PLLC




                                                                                                                    ABDUL BEYDOUN A/K/A ABDUL BAYDOUN A/K/A ABE BAYDOUN;
                     ATTORNEYS & COUNSELORS




                                                                                                                    FOUAD BEYDOUN A/K/A FOUAD BAYDOUN A/K/A FRANK BAYDOUN;
                                                                                                                    ANWAR BAKER;
                                                                                                                    MUNA AFAN;
                                                                                                                    MOHAMED EL-FAKHARANY, M.D.;
                                                                                                                    RIAD GEORGE KHOURY, M.D.;
                                                                                                                    VINOD SHARMA, M.D. and
                                                                                                                    HORST GRIESSER, M.D.,

                                                                                                                         Defendants.
                                                                                                                    ____________________________________________/

                                                                                                                                  DEFENDANT STAR PAIN MANAGEMENT
                                                                                                                                 & REHAB LLC’S ANSWER TO COMPLAINT,
                                                                                                                         AFFIRMATIVE DEFENSES, AND RELIANCE UPON JURY DEMAND

                                                                                                                           NOW COMES Defendant Star Pain Management & Rehab LLC, by and

                                                                                                                    through counsel, AT Law Group, PLLC, specifically by Dewnya A. Bazzi, and for
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                                                                                                                    Defendant Star Pain Management & Rehab LLC’s Answer to Complaint, states as

                                                                                                                    follows:

                                                                                                                    I.    NATURE OF THE ACTION

                                                                                                                          1.     Denied.

                                                                                                                          2.     Denied.

                                                                                                                          3.     Denied.

                                                                                                                          4.     Denied.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          5.     Denied.

                                                                                                                          6.     Denied.
AT LAW GROUP, PLLC




                                                                                                                          7.     Denied.
                     ATTORNEYS & COUNSELORS




                                                                                                                          8.     Denied.

                                                                                                                          9.     Denied.

                                                                                                                          10.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          11.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          12.    Denied.

                                                                                                                          13.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                           14.   Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                    II.    JURISDICTION AND VENUE

                                                                                                                           15.   Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                           16.   Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                           17.   Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC




                                                                                                                    III.   PARTIES
                     ATTORNEYS & COUNSELORS




                                                                                                                           A.    Plaintiff

                                                                                                                           18.   Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                           B.    Defendants

                                                                                                                                 1.     The Clinical Defendants

                                                                                                                                        a)     The Beydoun Clinics

                                                                                                                                               (1)    Star Pain

                                                                                                                           19.   Admitted.

                                                                                                                           20.   Admitted.

                                                                                                                           21.   Admitted.



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                                                                                                                                               (2)    NextGen

                                                                                                                          22.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          23.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          24.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                               (3)    Baydoun Successor Clinics

                                                                                                                          25.    Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          26.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          27.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          28.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          29.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          30.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.



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                                                                                                                                 2.     The Toxicology Companies

                                                                                                                                        (1)    Advanced Central Labs

                                                                                                                          31.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          32.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          33.    Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          34.    Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          35.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          36.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          37.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          38.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                                        (2)    Midwest Medical Lab

                                                                                                                          39.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          40.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          41.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          42.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC




                                                                                                                          43.    Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          44.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                        (3)    Future Diagnostic Center

                                                                                                                          45.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          46.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          47.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.



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                                                                                                                          48.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          49.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          50.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          51.    Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                                        (4)    Successor Baydoun Toxicology Lab, iNova
AT LAW GROUP, PLLC




                                                                                                                          52.    Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          53.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          54.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          55.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          56.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                                 3.     The Management Group

                                                                                                                                        a)     Sam Hakki

                                                                                                                          57.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          58.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          59.    Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          60.    Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          61.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                        b)     Nabil Baydoun

                                                                                                                          62.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          63.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          64.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          65.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          66.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          67.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          68.    Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                                        c)     Fouad Baydoun
AT LAW GROUP, PLLC




                                                                                                                          69.    Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          70.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          71.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          72.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          73.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          74.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          75.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                        d)     Adbul Baydoun

                                                                                                                          76.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          77.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC




                                                                                                                          78.    Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          79.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          80.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          81.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          82.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                                        e)     Muna Afan

                                                                                                                          83.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          84.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          85.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          86.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC




                                                                                                                          87.    Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          88.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          89.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          90.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                                        f)     Anwar Baker

                                                                                                                          91.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          92.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          93.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          94.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC




                                                                                                                          95.    Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          96.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          97.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 4.     The Lab Director

                                                                                                                                        a)     Mohamed El-Fakharany, M.D.

                                                                                                                          98.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          99.    Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          100. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 5.     The Physicians

                                                                                                                                        a)     Riad George Khoury, M.D.

                                                                                                                          101. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          102. Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          103. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          104. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                        a)     Vinod Sharma, M.D.

                                                                                                                          105. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          106. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          107. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          108. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                        b)     Horst Griesser, M.D.

                                                                                                                          109. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          110. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC




                                                                                                                          111. Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          112. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          113. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          114. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          115. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                    IV.   ALLEGATIONS COMMON TO ALL COUNTS

                                                                                                                          A.     First-Party Claims for Payment Under the No-Fault Act

                                                                                                                          116. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          117. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          118. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          119. Denied.
AT LAW GROUP, PLLC




                                                                                                                          B.     Third-Party Tort Claims for
                     ATTORNEYS & COUNSELORS




                                                                                                                                 Non-Economic Loss under the No-Fault Act

                                                                                                                          120. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          121. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          122. Denied.

                                                                                                                          C.     Legitimate Use of Urine Drug Tests (UDTs)

                                                                                                                          123. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          124. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

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                                                                                                                           125. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                           126. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                           127. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                           128. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                           129. Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                           130. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                           D.    Federal Law Governing Laboratories
                                                                                                                                 That Perform Confirmatory UDTs

                                                                                                                           131. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                           132. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                           133. Defendant denies on the basis that the Court is the sole arbiter of the

                                                                                                                    law.




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                                                                                                                           134. Defendant denies on the basis that the Court is the sole arbiter of the

                                                                                                                    law.

                                                                                                                                 (i)     Defendant denies on the basis that the Court is the sole arbiter

                                                                                                                                         of the law.

                                                                                                                                 (ii)    Defendant denies on the basis that the Court is the sole arbiter

                                                                                                                                         of the law.

                                                                                                                                 (iii)   Defendant denies on the basis that the Court is the sole arbiter
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                         of the law.

                                                                                                                                 (iv)    Defendant denies on the basis that the Court is the sole arbiter
AT LAW GROUP, PLLC




                                                                                                                                         of the law.
                     ATTORNEYS & COUNSELORS




                                                                                                                                 (v)     Defendant denies on the basis that the Court is the sole arbiter

                                                                                                                                         of the law.

                                                                                                                                 (vi)    Defendant denies on the basis that the Court is the sole arbiter

                                                                                                                                         of the law.

                                                                                                                           135. Defendant denies this allegation (and all subparts) on the basis that the

                                                                                                                    Court is the sole arbiter of the law.

                                                                                                                           136. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          E.     The Background and Evolution of the Scheme

                                                                                                                                 1.     Hakki Forms Computerised Joint, Mini Invasive, and
                                                                                                                                        Begins Funneling Patients to Advanced Central Labs for
                                                                                                                                        UDTs to Maximize His Profits

                                                                                                                          137. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          138. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          139. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC




                                                                                                                          140. Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          141. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          142. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          143. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          144. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          145. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          146. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          147. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          148. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          149. Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          150. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 2.     Hakki Connects the Baydouns and Their Clinics to
                                                                                                                                        Advanced Central Labs

                                                                                                                          151. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          152. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          153. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          154. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          155. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          156. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          157. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          158. Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          159. Denied.

                                                                                                                          160. Denied.

                                                                                                                          161. Denied.

                                                                                                                          162. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          163. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          164. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          165. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          166. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          167. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          168. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                                 3.     After Advanced Central Labs Fails Its CLIA Inspection and
                                                                                                                                        Is Sued by Allstate, the Management Group Opens MML to
AT LAW GROUP, PLLC




                                                                                                                                        Take over for Advanced Central Labs
                     ATTORNEYS & COUNSELORS




                                                                                                                          169. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          170. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          171. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          172. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          173. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.



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                                                                                                                          174. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          175. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          176. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          177. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          178. Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          179. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          180. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 4.     After MML Is Scrutinized by the Department of Health and
                                                                                                                                        its CLIA Certification is Deactivated, the Management
                                                                                                                                        Group Opens Yet Another New Lab, Future Diagnostic, To
                                                                                                                                        Take Over for MML

                                                                                                                          181. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          182. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

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                                                                                                                          183. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          184. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          185. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          186. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          187. Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          188. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          189. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          190. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          191. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          192. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.



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                                                                                                                          193. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          194. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          195. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          F.     Defendants’ Fraudulent Referrals for UDTs
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          196. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC




                                                                                                                          197. Defendant lacks knowledge or information sufficient to form a belief
                     ATTORNEYS & COUNSELORS




                                                                                                                    about the truth of this allegation.

                                                                                                                          198. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 a)     Defendants Refer Patients for UDTs as a Matter of Course
                                                                                                                                        to Maximize Profits

                                                                                                                          199. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          200. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          201. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

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                                                                                                                          202. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          203. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          204. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 b)     Defendants Order Presumptive and Confirmatory UDTs
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                        Simultaneously to Maximize Profits

                                                                                                                          205. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC
                     ATTORNEYS & COUNSELORS




                                                                                                                          206. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          207. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          208. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          209. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                                 c)     Defendants Order Unreasonably Extensive Confirmatory
                                                                                                                                        Panels to Maximize Profits

                                                                                                                          210. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          211. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          212. Defendant lacks knowledge or information sufficient to form a belief
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    about the truth of this allegation.

                                                                                                                          213. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC
                     ATTORNEYS & COUNSELORS




                                                                                                                                 d)     Defendants Ignore Physiologically Impossible UDT Results

                                                                                                                          214. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          215. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          216. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          217. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          218. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

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                                                                                                                          219. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          220. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          221. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 e)     Defendants Ignore Red Flags That Could Implicate Patient
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                        Care and Safety

                                                                                                                          222. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.
AT LAW GROUP, PLLC
                     ATTORNEYS & COUNSELORS




                                                                                                                          223. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          224. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          225. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          226. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          227. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.




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                                                                                                                          228. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          229. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          230. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 f)     Defendants’ Duplicative Billing for Presumptive UDTs
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          231. Denied.

                                                                                                                          232. Defendant lacks knowledge or information sufficient to form a belief
AT LAW GROUP, PLLC




                                                                                                                    about the truth of this allegation.
                     ATTORNEYS & COUNSELORS




                                                                                                                          233. Denied.

                                                                                                                          234. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                                 g)     State Farm Mutual’s Justifiable Reliance

                                                                                                                          235. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          236. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                          237. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.



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                                                                                                                          238. Defendant lacks knowledge or information sufficient to form a belief

                                                                                                                    about the truth of this allegation.

                                                                                                                    V.    CAUSES OF ACTION

                                                                                                                                              FIRST CAUSE OF ACTION
                                                                                                                                           VIOLATION OF 18 U.S.C. § 1962(c)
                                                                                                                                                (Against All Defendants)

                                                                                                                          239. Defendant incorporates and adopts all of the foregoing paragraphs as

                                                                                                                    though fully set forth herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          240. Denied.

                                                                                                                          241. Denied.
AT LAW GROUP, PLLC




                                                                                                                          242. Denied.
                     ATTORNEYS & COUNSELORS




                                                                                                                                 (a)    Denied.

                                                                                                                                 (b)    Denied.

                                                                                                                                 (c)    Denied.

                                                                                                                                 (d)    Denied.

                                                                                                                          243. Denied.

                                                                                                                          244. Denied.

                                                                                                                          245. Denied.

                                                                                                                          246. Denied.

                                                                                                                          WHEREFORE, Defendant respectfully requests this Honorable Court to

                                                                                                                    enter an order of dismissal or, alternatively, a no cause of action in addition to all



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                                                                                                                    costs, fees (including reasonable attorney’s fees), sanctions, and other relief to

                                                                                                                    which Defendant is entitled.

                                                                                                                                             SECOND CAUSE OF ACTION
                                                                                                                                           VIOLATION OF 18 U.S.C. § 1962(d)
                                                                                                                                                (Against All Defendants)

                                                                                                                          247. Defendant incorporates and adopts all of the foregoing paragraphs as

                                                                                                                    though fully set forth herein.

                                                                                                                          248. Denied.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          249. Denied.

                                                                                                                          250. Denied.
AT LAW GROUP, PLLC




                                                                                                                          251. Denied.
                     ATTORNEYS & COUNSELORS




                                                                                                                          WHEREFORE, Defendant respectfully requests this Honorable Court to

                                                                                                                    enter an order of dismissal or, alternatively, a no cause of action in addition to all

                                                                                                                    costs, fees (including reasonable attorney’s fees), sanctions, and other relief to

                                                                                                                    which Defendant is entitled.

                                                                                                                                               THIRD CAUSE OF ACTION
                                                                                                                                                COMMON LAW FRAUD
                                                                                                                                                 (Against All Defendants)

                                                                                                                          252. Defendant incorporates and adopts all of the foregoing paragraphs as

                                                                                                                    though fully set forth herein.

                                                                                                                          253. Denied

                                                                                                                          254. Denied



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                                                                                                                                 (a)    Denied.

                                                                                                                                 (b)    Denied.

                                                                                                                          255. Denied

                                                                                                                          256. Denied

                                                                                                                          257. Denied

                                                                                                                          WHEREFORE, Defendant respectfully requests this Honorable Court to

                                                                                                                    enter an order of dismissal or, alternatively, a no cause of action in addition to all
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    costs, fees (including reasonable attorney’s fees), sanctions, and other relief to

                                                                                                                    which Defendant is entitled.
AT LAW GROUP, PLLC




                                                                                                                                             FOURTH CAUSE OF ACTION
                     ATTORNEYS & COUNSELORS




                                                                                                                                               UNJUST ENRICHMENT
                                                                                                                                               (Against All Defendants)

                                                                                                                          258. Defendant incorporates and adopts all of the foregoing paragraphs as

                                                                                                                    though fully set forth herein.

                                                                                                                          259. Denied

                                                                                                                          260. Denied

                                                                                                                          261. Denied

                                                                                                                          WHEREFORE, Defendant respectfully requests this Honorable Court to

                                                                                                                    enter an order of dismissal or, alternatively, a no cause of action in addition to all

                                                                                                                    costs, fees (including reasonable attorney’s fees), sanctions, and other relief to

                                                                                                                    which Defendant is entitled.



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                                                                                                                                        FIFTH CAUSE OF ACTION
                                                                                                                               DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201
                                                                                                                                        (Against the Controlled Labs)

                                                                                                                          262. Defendant incorporates and adopts all of the foregoing paragraphs as

                                                                                                                    though fully set forth herein.

                                                                                                                          263. Admitted.

                                                                                                                          264. Denied

                                                                                                                          265. Denied
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          266. Denied

                                                                                                                          267. Denied
AT LAW GROUP, PLLC




                                                                                                                          WHEREFORE, Defendant respectfully requests this Honorable Court to
                     ATTORNEYS & COUNSELORS




                                                                                                                    enter an order of dismissal or, alternatively, a no cause of action in addition to all

                                                                                                                    costs, fees (including reasonable attorney’s fees), sanctions, and other relief to

                                                                                                                    which Defendant is entitled.




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                                                                                                                                                           RELIEF

                                                                                                                          WHEREFORE, Defendant respectfully requests this Honorable Court to

                                                                                                                    enter an order of dismissal or, alternatively, a no cause of action in addition to all

                                                                                                                    costs, fees (including reasonable attorney’s fees), sanctions, and other relief to

                                                                                                                    which Defendant is entitled.


                                                                                                                                                                      Respectfully Submitted,
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                                                      /s/ Dewnya A. Bazzi
                                                                                                                                                                      __________________________
                                                                                                                                                                      Dewnya A. Bazzi (P75310)
                                                                                                                                                                      AT LAW GROUP
                                                                                                                                                                      Attorney for Defendant Star Pain
AT LAW GROUP, PLLC




                                                                                                                                                                      3 Parklane Blvd, West Tower, Ste 1500
                     ATTORNEYS & COUNSELORS




                                                                                                                                                                      Dearborn, MI48126
                                                                                                                                                                      (313) 406-7606
                                                                                                                    Dated: November 8, 2021                           db@atlawgroup.com




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                                                                                                                                               AFFIRMATIVE DEFENSES

                                                                                                                           NOW COMES Defendant Star Pain Management & Rehab LLC, by and

                                                                                                                    through counsel, AT Law Group, PLLC, specifically by Dewnya A. Bazzi, and for

                                                                                                                    Defendant Star Pain Management & Rehab LLC’s Affirmative Defenses, states as

                                                                                                                    follows:

                                                                                                                           1.    Defendant is not a “person” within the scope of 18 U.S.C. § 1962.

                                                                                                                           2.    Defendant has not utilized a pattern of racketeering activity or any
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    proceeds thereof.

                                                                                                                           3.    Defendant is not part of an enterprise nor has Defendant infiltrated an
AT LAW GROUP, PLLC




                                                                                                                    interstate enterprise.
                     ATTORNEYS & COUNSELORS




                                                                                                                           4.    Defendant has not invested income derived from a pattern of

                                                                                                                    racketeering activity in the enterprise.

                                                                                                                           5.    Defendant has not acquired or maintained an interest in the enterprise

                                                                                                                    through the pattern of racketeering activity.

                                                                                                                           6.    Defendant has not conducted the affairs of the enterprise through the

                                                                                                                    pattern of racketeering activity.

                                                                                                                           7.    Defendant has not engaged in any predicate acts necessary to establish

                                                                                                                    a civil claim for violation of the Racketeer Influenced and Corrupt Organizations

                                                                                                                    Act.




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                                                                                                                          8.     Defendant has not conspired to commit any of the acts necessary to

                                                                                                                    establish a civil claim for violation of the Racketeer Influenced and Corrupt

                                                                                                                    Organizations Act.

                                                                                                                          9.     Plaintiff has not sustained an injury to his business or property by

                                                                                                                    reason of one of any act necessary to establish a civil claim for violation of the

                                                                                                                    Racketeer Influenced and Corrupt Organizations Act.

                                                                                                                          10.    Plaintiff’s claims are barred by accord and satisfaction.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          11.    Plaintiff’s claims are barred by a pre-existing pending action.

                                                                                                                          12.    Plaintiff’s claims are barred by comity.
AT LAW GROUP, PLLC




                                                                                                                          13.    Plaintiff’s claims are barred by one or more abstention doctrines.
                     ATTORNEYS & COUNSELORS




                                                                                                                          14.    Plaintiff’s claims are barred by lack of joinder of claims.

                                                                                                                          15.    Plaintiff’s claims are barred by lack of joinder of parties.

                                                                                                                          16.    Plaintiff’s claims are barred by failure to plead special or exemplary

                                                                                                                    damages.

                                                                                                                          17.    Plaintiff’s claims are barred by recoupment.

                                                                                                                          18.    Plaintiff’s claims are barred by release.

                                                                                                                          19.    Plaintiff’s claims are barred by satisfaction.

                                                                                                                          20.    Plaintiff’s claims are barred by settlement agreement.

                                                                                                                          21.    Plaintiff’s claims are barred by waiver.




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                                                                                                                          22.    Plaintiff’s claims are improper, were brought in the wrong action

                                                                                                                    and/or were brought by an improper party.

                                                                                                                          23.    Plaintiff’s claims are barred by duress.

                                                                                                                          24.    Plaintiff’s claims are barred by voluntary payment.

                                                                                                                          25.    Plaintiff’s claims are barred by release.

                                                                                                                          26.    Plaintiff’s claims are barred by res judicata.

                                                                                                                          27.    Plaintiff’s claims are barred by collateral estoppel.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                          28.    Plaintiff’s claims are barred by equitable estoppel.

                                                                                                                          29.    Plaintiff’s claims are barred by judicial estoppel.
AT LAW GROUP, PLLC




                                                                                                                          30.    Plaintiff’s claims are barred by estoppel by contract.
                     ATTORNEYS & COUNSELORS




                                                                                                                          31.    Plaintiff’s claims are barred by quasi estoppel.

                                                                                                                          32.    Plaintiff’s claims are barred by statute of limitations.

                                                                                                                          33.    Plaintiff’s claims are barred by lack of standing.

                                                                                                                          34.    Plaintiff’s claims are barred by lack of proximate cause between

                                                                                                                    Defendant’s conduct and Plaintiff’s damages.

                                                                                                                          35.    Plaintiff’s claims are barred by failure to plead alleged fraud with the

                                                                                                                    requisite specificity.

                                                                                                                          36.    Plaintiff’s claims are barred by failure to state a claim upon which

                                                                                                                    relief can be granted.




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                                                                                                                          37.   Defendant reserves the right to add any additional affirmative

                                                                                                                    defenses as they become known.


                                                                                                                                                                   Respectfully Submitted,

                                                                                                                                                                   /s/ Dewnya A. Bazzi
                                                                                                                                                                   __________________________
                                                                                                                                                                   Dewnya A. Bazzi (P75310)
                                                                                                                                                                   AT LAW GROUP
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                                                                                                                                            RELIANCE UPON JURY DEMAND

                                                                                                                          Defendant hereby relies upon the Jury Demand made by Plaintiff pursuant to FED.

                                                                                                                    R. CIV. P. 38(b).

                                                                                                                                                                   Respectfully Submitted,

                                                                                                                                                                   /s/ Dewnya A. Bazzi
                                                                                                                                                                   __________________________
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                                                                                                                                              CERTIFICATE OF SERVICE

                                                                                                                          The undersigned certifies that the foregoing document along with a

                                                                                                                    Certificate of Service was electronically filed on November 9, 2021 with the

                                                                                                                    Court’s e-filing system, which will send notification of such filing to all attorneys

                                                                                                                    of record.


                                                                                                                                                                      Respectfully Submitted,
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                                                                                                                                                                      /s/ Dewnya A. Bazzi
                                                                                                                                                                      __________________________
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